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 4
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 5   ORANGE COUNTY COASTKEEPER
 6
                           UNITED STATES DISTRICT COURT
 7                        CENTRAL DISTRICT OF CALIFORNIA
 8
 9   ORANGE COUNTY COASTKEEPER, a                   Case No.: 8:20-cv-1993
10   California non-profit corporation,
                                                    COMPLAINT FOR
11                                                  DECLARATORY AND
                 Plaintiff,                         INJUNCTIVE RELIEF AND
12                                                  CIVIL PENALTIES
           v.
13                                                  (Federal Water Pollution Control
                                                    Act, 33 U.S.C. §§ 1251 et seq.)
14   Rancho Sierra Vista, a California
     Corporation; Rancho HHO Land
15   Corporation, a California Corporation,
16
                 Defendants.
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18
           Orange County Coastkeeper (“Coastkeeper” or “Plaintiff”), by and through its
19
     counsel, hereby alleges:
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     COMPLAINT                                                     Case No. 8:20-cv-1993
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 1   I.    PRELIMINARY STATEMENT
 2          1. This is a civil suit brought under the citizen suit enforcement provision of the
 3   Federal Clean Water Act. 33 U.S.C. §§ 1251 et seq. This Court has subject matter
 4   jurisdiction over the parties and this action because it arises under federal law. The
 5   events giving rise to Plaintiff’s action and the violations described in this Complaint
 6   occurred, and continue to occur, within this judicial district. See 33 U.S.C. § 1365(a)(1).
 7          2. This action arises out of the unlawful pollution of Trabuco Creek caused by
 8   Defendant Rancho Sierra Vista (“RSV”) and Defendant Rancho HHO Land Corporation
 9   (“Rancho HHO Land Corporation”) (collectively, “Defendants”), the owners and/or
10   operators of Rancho Sierra Vista Stables (“RSV Stables” or the “Facility”). The Facility
11   stables approximately 370 horses, which are present for the majority of the year.
12          3. Defendants have operated the Facility in violation of the Clean Water Act by
13   failing to obtain permit coverage for the discharge of pollutants from a Medium
14   Concentrated Animal Feeding Operation (“CAFO”).
15          4. Failure to obtain mandatory permits for activities at the Facility violates the
16   Clean Water Act’s prohibition on unpermitted discharges of pollutants into Waters of the
17   United States. These failures are demonstrated by Defendants’ discharges of horse
18   manure and bedding, sediment, trash, fertilizers, rubberized horse footing, and other
19   “non-storm water” into Trabuco Creek and onsite federal waters, and the discharge of
20   polluted storm water that comes into direct contact with hundreds of stabled horses
21   directly into Trabuco Creek.
22          5. The Clean Water Act enables non-profit organizations such as Orange County
23   Coastkeeper to file lawsuits to enforce the Clean Water Act. 33 U.S.C. § 1365.
24          6. Based upon its investigation to date, Coastkeeper alleges that Defendants are
25   responsible for at least 1,825 violations of Section 301 of the Clean Water Act, 33
26   U.S.C. § 1311.
27          7. Defendants’ acts and omissions have harmed, and continue to harm, both the
28   mission of Plaintiff Orange County Coastkeeper and the interests of its members who
                                                   2
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 1   use Trabuco Creek, San Juan Creek downstream of the Facility, and Doheny State
 2   Beach, where the San Juan Creek meets the Pacific Ocean.
 3            8. Coastkeeper seeks declaratory and injunctive relief, as well as civil penalties,
 4   to end the unlawful acts and omissions of Defendants that continue to cause irreparable
 5   damage to water quality. Coastkeeper also seeks recovery of reasonable costs of suit,
 6   including attorney, witness, expert, and consultant fees, pursuant to Section 505(d) of the
 7   Clean Water Act, 33 U.S.C. § 1365(d).
 8   II.    JURISDICTION AND VENUE
 9          9. This is a citizen enforcement action brought under the Federal Water Pollution
10   Control Act, 33 U.S.C. §§ 1251 et seq., more commonly called the Clean Water Act (the
11   “Clean Water Act” or the “Act”). See 33 U.S.C. § 1365. This Court has subject matter
12   jurisdiction over the parties and this action pursuant to Section 505(a)(1) of the Clean
13   Water Act, 33 U.S.C. § 1365(a)(1), and 28 U.S.C. §§ 1331 and 2201 (an action for
14   declaratory and injunctive relief under the Constitution and laws of the United States).
15          10.     Coastkeeper sent a letter by certified mail to Defendants on February 10,
16   2020 (the “Notice Letter”). In the Notice Letter, Coastkeeper notified Defendants of
17   their violations of the Clean Water Act and of Coastkeeper’s intention to file suit for
18   such violations after sixty (60) days as required by 40 C.F.R. § 135.2(a)(1) (Mar. 19,
19   1991).
20          11.     The Notice Letter was also sent to the necessary state and federal regulatory
21   agencies as required by Section 505(b) of the Clean Water Act, 33 U.S.C. §
22   1365(b)(1)(A).
23          12.     More than sixty (60) days have passed since the Notice Letter was sent to
24   Defendants and the regulatory agencies.
25          13.     Coastkeeper is informed and believes that the federal or state agencies have
26   neither commenced nor are diligently prosecuting any action to redress the violations
27   alleged in the Notice Letter and in this Complaint. See 33 U.S.C. § 1365(b)(1)(B).
28          14.     This action is not barred by any prior administrative penalty under Section
                                                    3
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 1   309(g) of the Clean Water Act, 33 U.S.C. § 1319(g).
 2            15.   Venue is proper in this Court under 28 U.S.C. § 1391(b)(1) because a
 3   substantial part of the events or omissions giving rise to Coastkeeper’s claims occurred
 4   in this judicial district, and under 33 U.S.C. § 1365(c)(1) because the sources of the
 5   violations described in this Complaint are located within this judicial district.
 6            16.   Plaintiff seeks relief from Defendants’ violations of the procedural and
 7   substantive requirements of Section 301(a) of the Clean Water Act, 33 U.S.C. § 1311(a).
 8   III.    PARTIES
 9            A.    Orange County Coastkeeper
10           17.    Plaintiff Orange County Coastkeeper (“Coastkeeper” or “Plaintiff”) is a
11   non-profit public benefit corporation organized under the laws of the State of California.
12   Coastkeeper’s office is located at 3151 Airway Avenue, Suite F-110, Costa Mesa,
13   California 92626.
14           18.    Coastkeeper has over 1,400 members who live and/or recreate in and
15   around Orange County, including at Trabuco Creek, San Juan Creek, and Doheny State
16   Beach. Coastkeeper’s mission is to protect the region's water resources so they are
17   swimmable, drinkable, and fishable for present and future generations. To further its
18   mission, Coastkeeper actively seeks federal and state agency implementation of the
19   Clean Water Act and, where necessary, directly initiates enforcement actions on behalf
20   of itself and its members.
21            19.   In addition, Coastkeeper’s members use and enjoy Trabuco Creek to swim,
22   birdwatch, picnic, fish, hike, wade, bike, horseback ride, and conduct scientific study
23   and research, and/or for aesthetic enjoyment in and around these waters.
24            20.   Coastkeeper’s members use and enjoy the coast near the San Juan Creek
25   Mouth (downstream of Trabuco Creek) and Doheny State Beach to sail, swim, boat,
26   kayak, windsurf, birdwatch, picnic, fish, paddle, standup paddleboard, surf, wade, and
27   conduct scientific study and research, and/or for aesthetic enjoyment in and around these
28   waters.
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 1           21.   Defendants’ actions individually, collectively, and in culmination with the
 2   activities of other landowners adjacent to Trabuco Creek, result in numerous injuries to
 3   Coastkeeper’s interests, such as: loss, destruction, or damage to wetlands and
 4   waterways; diminished aesthetic enjoyment; loss of open space and habitat for wildlife,
 5   including wading birds and federally protected species like Southern California Coast
 6   Steelhead; degraded water quality; and diminished quality of life.
 7           22.   Defendants’ failure to comply with the procedural and substantive
 8   requirements of the Clean Water Act negatively affects and impairs Coastkeeper’s
 9   members’ use and enjoyment of these waters.
10           23.   The interests of Coastkeeper’s members have been, are being, and will
11   continue to be adversely affected by Defendants’ failure to comply with the Clean Water
12   Act. Continuing the commission of the acts and omissions alleged in this Complaint will
13   irreparably harm Coastkeeper’s members, for which harm they have no plain, speedy, or
14   adequate remedy at law.
15           24.   Coastkeeper’s members will continue to be harmed until Defendants bring
16   their activities into compliance with the law.
17           25.   The relief sought herein will redress the harms to Coastkeeper caused by
18   Defendants’ activities.
19           B.    Rancho Sierra Vista
20           26.   Rancho Sierra Vista is an active California corporation with its principal
21   place of business located at 31441 Avenida De La Vista, San Juan Capistrano, CA
22   92675.
23           27.   Rancho Sierra Vista owns the Facility.
24           28.   The Registered Agent for the Facility is Patricia Garrison, located at the
25   same address as RSV.
26           29.   At all times relevant to this Complaint, RSV has owned, and is legally
27   responsible for, the Facility.
28   ///
                                                   5
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 1           C.    Rancho HHO Land Corporation
             30.   Defendant Rancho HHO Land Corporation is an active California
 2
     corporation for the purposes of property ownership.
 3
             31.   The registered agent for service of process is Steve Driscoll, located at 100
 4
     Pacifica Street, Ste 130, Irvine, CA 92618.
 5
             32.   Based on information available to Coastkeeper, Coastkeeper alleges that
 6
     Rancho HHO Land Corporation is the property owner of 31441 Avenida De La Vista,
 7
     San Juan Capistrano, CA 92675 – the land upon with RSV Stables operates its
 8
     equestrian stabling business.
 9
             33.   Patricia Garrison is the president of Rancho HHO Land Corporation.
10
             34.   Patricia Garrison is also an officer of RSV.
11
             35.   Coastkeeper alleges that Patricia Garrison, as the President of Rancho HHO
12
     Land Corporation and an officer of RSV, has knowledge and control of the operations
13
     occurring at RSV Stables.
14
             36.   Collectively, RSV and Rancho HHO Land Corporation are the owners
15
     and/or operators of the Facility and responsible parties under the Clean Water Act.
16
     IV.    FACTUAL BACKGROUND
17
18          A.     Rancho Sierra Vista Stables

19                                             Activities

20           37.   Coastkeeper alleges that RSV provides equestrian stabling, riding rings,

21   access to equestrian trails, and other related services.

22           38.   Based on publicly available information obtained from OC Animal Care, an

23   agency of the County of Orange, RSV has stables and is permitted for up to 370 horses.

24           39.   Coastkeeper alleges that the Facility stables over 150 horses for more than

25   45 days in any 12-month period.

26           40.   Coastkeeper alleges that no crops are sustained at the Facility, and horses

27   are not permitted to graze.

28           41.   Based on satellite images of the Facility and the general topography of the
                                                   6
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 1   area, and based upon documents obtained from the City of San Juan Capistrano,
 2   Coastkeeper alleges that storm water passes through stables and/or animal walkways,
 3   coming into contact with manure and other pollutants, and then flows into at least one
 4   storm drain that empties into the adjacent Trabuco Creek.
 5           42.   Based on information and belief, Coastkeeper also alleges other that man-
 6   made devices convey storm water from the Facility to Trabuco Creek.
 7                          Non-storm Water and Storm Water Pollution
 8           43.   Coastkeeper alleges that Defendants have been, and are continually,
 9   discharging pollutants into Trabuco Creek.
10           44.   The discharged pollutants include, but are not limited to, “non-storm
11   water,” such as horse manure, bedding, sediment, equine footing, trash, and other
12   materials associated with equine operations, as well as polluted run-off and storm water.
13           45.   Based on information available to Coastkeeper, it alleges that when it rains,
14   storm water falls onto the Facility and runs through riding rings, stabling areas, and
15   horse walkways – coming into direct contact with manure, bedding, footing, feed, and
16   trash before discharging to Trabuco Creek.
17           46.   Water flows generally towards the bank of Trabuco Creek, carrying with it
18   pollutants including bacteria, nitrogen, phosphorus, and trash.
19           47.   Coastkeeper believes and thereon alleges that each time it rains at the
20   Facility, polluted water is discharged from the Facility without a permit.
21           48.   Unlawful discharges will occur each time it rains until such a time as the
22   Facility gains NPDES permitting and implements an approved Nutrient Management
23   Plan. Each discharge of pollutants into waters of the United States without an NPDES
24   permit a CAFO is a violation of Section 301 of the Clean Water Act, 33 U.S.C. §1311.
25           49.   Coastkeeper is further informed and believes that pollutants may also be
26   discharged from the Facility during dry weather.
27   ///

28   ///
                                                  7
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 1         50.     Based upon information obtained from the South Orange County
 2   Wastewater Authority, Coastkeeper is informed, believes, and thereon alleges that the
 3   Facility discharges process wastewater from its horse wash racks directly into Trabuco
 4   Creek or storm drains that convey process wastewater to Trabuco Creek.
 5         51.     Coastkeeper is informed, believes, and thereon alleges that process
 6   wastewater from the wash racks is routinely discharged, and is reasonably likely to
 7   continue to be discharged, directly into Trabuco Creek in the future.
 8         52.     Coastkeeper further alleges that pollutants discharged from the Facility
 9   including, but not limited to, sediment, manure, feed bags, and trash from human
10   activities at the Facility may further enter Trabuco Creek incidentally due to lack of
11   implemented Best Management Practices (BMPs) to prevent such non-storm water
12   discharges.
13         53.     Coastkeeper alleges that discharges of these non-stormwater pollutants are
14   reasonably likely to continue for as long as the Facility operates without an NPDES
15   permit.
16         B.      Trabuco Creek
17                                           Description
18         54.     Defendants are discharging pollution from the Facility into Trabuco Creek.
19         55.     Trabuco Creek is a water of the United States subject to the protections of
20   the Clean Water Act. 33 U.S.C. § 1362(7).
21         56.     Trabuco Creek is a 22-mile primary tributary of San Juan Creek with its
22   headwaters originating in the Santa Ana Mountains, flowing west and southwest through
23   San Juan Capistrano, before entering San Juan Creek.
24         57.     San Juan Creek is a water of the United States subject to the protections of
25   the Clean Water Act.
26         58.     The San Juan Creek watershed encompasses a drainage of approximately
27   176 square miles and extends along an East-West axis from the Cleveland National
28   Forest in the Santa Ana Mountains to the Pacific Ocean at Doheny State Beach near
                                                  8
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 1   Dana Point Harbor.1
 2                      Environmental Resources and Threats to Water Quality
 3          59.     Trabuco Creek and San Juan Creek support a wide variety of flora and
 4   fauna, including endangered species such as the Pacific pocket mouse, the Southern
 5   California Coast Steelhead, the Quino checkerspot butterfly, the southwestern willow
 6   flycatcher, and many other species.
 7          60.     Portions of Trabuco Creek and San Juan Creek have specifically been
 8   identified as critical habitat for a Southern California Coast Steelhead Biogeographic
 9   Population Group.
10          61.     The California Regional Water Quality Control Board, San Diego Region
11   (the “Regional Board”) issued the San Diego Basin Water Quality Control Plan (the
12   “Basin Plan”). The Basin Plan identifies the “Beneficial Uses” of water bodies in the
13   region. Pursuant to its authority over designated water bodies, the Regional Board has
14   designated several beneficial uses for Trabuco Creek, San Juan Creek, and its mouth at
15   Doheny State Beach.2
16          62.     Beneficial uses are intended to represent the purposes of the water body that
17   are specifically protected by the Clean Water Act. When those uses are not attained, the
18   Regional Board designates the water body as “impaired” under Section 303(d) of the
19   Clean Water Act.
20          63.     In this regard, the receiving waters of pollution from the Facility are
21   impaired.
22   1
       U.S. Army Corps of Engineers, South Pacific Div., Record of Decision for Revoking the Use of
23   Selected Nationwide Permits within the San Juan Creek/Western San Mateo Creek Watersheds for the
     Special Area Management Plan Orange County, Cal., 1 (July 2010).
     2 According to the Basin Plan, Trabuco Creek’s existing beneficial uses include: agricultural supply,
24   industrial service supply, water contact recreation, non-contact water recreation, warm freshwater
25   habitat, cold freshwater habitat, wildlife habitat. San Juan Creek’s existing beneficial uses include:
     agricultural supply, industrial service supply, water contact recreation, non-contact water recreation,
26   warm freshwater habitat, cold freshwater habitat, wildlife habitat. Likewise, the beneficial uses on the
     San Juan Creek Mouth, where San Juan Creek meets the Pacific Ocean, includes contact water
27   recreation, non-contact water recreation, wildlife habitat, rare, threatened, or endangered species,
     marine habitat, migration of aquatic organisms, and shellfish harvesting. Water Quality Control Plan,
28   San Diego Region, Regional Water Quality Control Board, San Diego Region, Tables 2-2, 2-3 (updated
     January 15, 2020).
                                                           9
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 1          64.   According to the 2016 303(d) List of Impaired Water Bodies, Trabuco
 2   Creek is impaired for pollutants including indicator bacteria, Malathion, nitrogen,
 3   phosphorus, and benthic community effects.3
 4          65.   San Juan Creek is impaired for pollutants including, but not limited to,
 5   indicator bacteria, phosphorus, total nitrogen as N, toxicity, DDE, dissolved oxygen, and
 6   selenium.4
 7          66.   The San Juan Creek Mouth is impaired for pollutants including cadmium,
 8   copper, indicator bacteria, nickel, and nitrogen as ammonia (total ammonia).
 9          67.   The Pacific Ocean shoreline at the mouth of San Juan Creek, 1000 feet
10   south of San Juan Creek, and at North Doheny State Park Campground is also impaired
11   for indicator bacteria.
12          68.   The discharge of storm water carrying the byproducts of the Facility,
13   including horse waste, bedding material, feed, metals, trash, and other materials are
14   contributing to, and threatening, Trabuco Creek and downstream receiving waters.
15          69.   The Clean Water Act requires California to establish a total maximum daily
16   load (“TMDL”) for impaired waterbodies on its 303(d) list. A TMDL is necessary when
17   the technology-based effluent limits and other pollution control requirements “are not
18   stringent enough to implement any water quality standard applicable to such waters.”5 A
19   TMDL is the sum of the individual waste load allocations (“WLA”) for point sources
20   and load allocations (“LA”) for non-point sources and natural background.6 A WLA is a
21   “portion of a receiving water’s loading capacity that is allocated to one of its existing or
22   future point sources of pollution.”7 Any NPDES permit issued for waters subject to a
23   TMDL must include effluent limitation or standards necessary to achieve water quality
24   standards established under Section 303.8 Where a TMDL has been approved by the
25   3
       Integrated Report, available at:
26   https://www.waterboards.ca.gov/water_issues/programs/tmdl/integrated2014_2016.shtml.
     4
       Id.
     5
27     33 U.S.C. § 1313(d)(1)(A); 40 C.F.R. § 130.7(b)(1).
     6
       40 C.F.R. § 130(i).
     7
28     40 C.F.R. § 130.2(h).
     8
       33 U.S.C. § 1311(b)(1)(C); 40 C.F.R. § 122.44(d)(1).
                                                       10
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 1   EPA, NPDES permit limits must be consistent with the assumptions and requirements of
 2   the TMDL’s WLAs.9
 3           70.    On February 10, 2010 the Regional Board adopted Resolution No R9-2010-
 4   0001, an amendment revising its Basin Plan to incorporate the Revised Total Maximum
 5   Daily Loads for Indicator Bacteria, Project I – Twenty Beaches and Creeks in the San
 6   Diego Region (Including Tecolote Creek) (the “Twenty Beaches TMDL”). The Twenty
 7   Beaches TMDL became effective on April 4, 2011. The Regional Board included San
 8   Juan Creek, San Juan Creek (mouth) and the Pacific Ocean shoreline near San Juan
 9   Creek into the Twenty Beaches TMDL from the Lower San Juan Creek Hydrologic Sub
10   Area (HSA).10
11           71.    The Regional Board identified CAFOs as point source dischargers
12   responsible for causing or contributing to bacteria impairments in Twenty Beaches
13   TMDL.11 Unlike other point source contributors, CAFOs were assigned a zero WLA.12
14   Consequently, CAFOs are not allowed to discharge bacteria in dry or wet weather under
15   the terms of the Twenty Beaches TMDL.13
16           72.    On November 6, 2018, the State Board amended the Industrial General
17   Permit Order 2014-0057-DWQ, as amended by Order 2015-0122-DWQ, to incorporate
18   the Twenty Beaches TMDL, making its requirements applicable to industrial storm
19   water dischargers regulated by the permit.14
20   V.      STATUTORY AND REGULATORY BACKGROUND
21           A.     The Clean Water Act, State Regulation, and Relevant Permitting
22                  Provisions
23           73.    Congress passed the Clean Water Act to “restore and maintain the
24   chemical, physical, and biological integrity of the Nation’s waters,” 33 U.S.C. § 1251(a),
25
     9
26     40 C.F.R. §§ 122.44(d)(1)(vii)(B), 130.12(a).
     10
        See R9-2010-0001, Attachment A, A1.
     11
27      See R9-2010-0001, Attachment A, A40.
     12
        Id.
     13
28      Id. at A45.
     14
       See Order 20XX-XXXX-DWQ, Section VII., Attachment E.
                                                11
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 1   and with the “interim goal” that wherever attainable, “water quality which provides for
 2   the protection and propagation of fish, shellfish, and wildlife and provides for recreation
 3   in and on the water achieved by July 1, 1983.” 33 U.S.C. § 1251(a)(2).
 4          74.    Section 301(a) of the Clean Water Act, 33 U.S.C. § 1311(a), prohibits the
 5   discharge of any pollutant into waters of the United States unless the discharge complies
 6   with a permit issued pursuant to Clean Water Act Section 402. 33 U.S.C. §§ 1342.
 7          75.    Section 402 of the Clean Water Act establishes National Pollutant
 8   Discharge Elimination System (“NPDES”) permits issued by EPA, or an EPA-delegated
 9   state, to achieve the goals stated in Section 301(a) of the Clean Water Act., 33 U.S.C.
10   §§ 1311(a) and 1342(b).
11          76.    EPA has delegated its NPDES permitting authority to the State of
12   California.
13          77.    The California Water Code vests the State Water Resources Control Board
14   (the “State Board”) and the State’s nine regional water quality control boards with
15   primary responsibility for regulating state water quality. Cal. Water Code §§ 13001,
16   13050(a)-(b), 13200. The Regional Board identified above is one of the nine regional
17   boards. The San Juan Creek watershed, and the Pacific Ocean drainages from this
18   watershed, fall within its jurisdiction. Id. § 13200(f).
19          78.    Each violation of an NPDES permit – and each discharge of a pollutant that
20   is not authorized by an NPDES permit – is a violation of the Clean Water Act and its
21   implementing regulations and is grounds for enforcement actions, including citizen
22   enforcement seeking civil penalties. 33 U.S.C. §§ 1311(a), 1342(a), 1365(a), 1365(f)(6);
23   40 C.F.R. § 122.41(a) (Dec. 21, 2015).
24         B.      NPDES Permits
25                 1.    Concentrated Animal Feeding Operation Permit
26          79.    Under the Clean Water Act, a “point source” includes a “concentrated
27   animal feeding operation” from which pollutants are or may be discharged. 33 U.S.C. §
28   1362(14).
                                                   12
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 1           80.   To be considered a CAFO, a facility must satisfy a two-part test. First, the
 2   facility must meet the definition of an animal feeding operation (“AFO”). 40 C.F.R. §
 3   122.23 (Jul. 30, 2012). Second, the facility must confine a certain number of animals,
 4   which varies by species. Id.
 5           81.   An AFO is defined as a lot or facility where the following conditions are
 6   met: “(i) Animals (other than aquatic animals) have been, are, or will be stabled or
 7   confined and fed or maintained for a total of 45 days or more in any 12–month period,
 8   and (ii) Crops, vegetation, forage growth, or post-harvest residues are not sustained in
 9   the normal growing season over any portion of the lot or facility.” 40 C.F.R. §
10   122.23(b)(1)(i-ii) (Jul. 30, 2012).
11           82.   According to EPA, if an animal is at a facility for a portion of the day, it
12   counts as a full day.15
13           83.   The 12-month period is any 12-month period and need not correspond with
14   a calendar year.16
15           84.   If a facility meets the definition of an AFO, the next step is to determine
16   whether it has the requisite number of animals present at the facility to be classified as a
17   CAFO. CAFOs may be further categorized as Large or Medium CAFOs based on the
18   number of animals at a facility.
19           85.   For a horse AFO, 500 or more horses must be present at the facility to be
20   classified as a Large CAFO. 40 C.F.R. § 122.23(4)(vi) (Jul. 30, 2012).
21           86.   A Medium horse CAFO is any facility with 150-499 horses that also either:
22   (1) discharges “into waters of the United States through a man-made ditch, flushing
23   system, or other similar man-made device”; or (2) “[p]ollutants are discharged directly
24   into waters of the United States which originate outside of and pass over, across, or
25   through the facility or otherwise come into direct contact with the animals confined in
26   the operation.” 40 C.F.R. § 122.23(6) (Jul. 30, 2012).
27   15
        NPDES Permit Writers’ Manual for CAFOs. https://www.epa.gov/sites/production/files/2015-
28   08/documents/cafo_permitmanual_chapter2.pdf. Chapter 2-2. Accessed April 24, 2017.
     16
        Id.
                                                   13
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 1           87.    For facilities smaller than a Medium CAFO, the Regional Board may still
 2   designate any AFO as a CAFO if it determines that the AFO is a significant contributor
 3   of pollutants to waters of the United States. 40 C.F.R. § 122.23 (Jul. 30, 2012).
 4           88.    Once an AFO is defined as a CAFO, the NPDES requirements for CAFOs
 5   apply to all animals in confinement at the operation and all manure, litter, and process
 6   wastewater generated by those animals or the production of those animals. See 40 C.F.R.
 7   § 122.23(a) (Jul. 30, 2012).
 8           89.    Manure is defined to include “manure, bedding, compost, and raw materials
 9   or other materials comingled with manure or set aside for disposal.” 40 C.F.R. §
10   122.23(b)(5) (Jul. 30, 2012).
11           90.    Every discharge of pollutants from a CAFO into waters of the United States
12   without an NPDES permit is a violation of Section 301 of the CWA, 33 U.S.C. § 1311.
13   See also 40 C.F.R. §§ 122.23(d)(1), 122.23(f) (Jul. 30, 2012).
14           91.    Like other NPDES permits, CAFO permits must contain effluent
15   limitations, monitoring and reporting requirements, record-keeping requirements, special
16   conditions, and standard conditions to ensure the CAFO is complying with the Clean
17   Water Act.17
18           92.    Effluent limitations are defined as “any restriction established by the
19   Administrator on quantities, rates, and concentrations of chemical, physical, biological
20   and other constituents which are discharged from point sources” into waters of the
21   United States. 40 C.F.R. § 401.11(i) (Aug. 28, 2015).
22           93.    As explained below, a CAFO permit must include both technology-based
23   effluent limitations as well as more stringent water quality-based effluent limitations
24   when water quality standards are not being met.
25           94.    The Clean Water Act requires all NPDES point sources to achieve
26   compliance with technology-based effluent limitations. 33 U.S.C. § 1311(b).
27
28    NPDES Permit Writers’ Manual for CAFOs, https://www.epa.gov/npdes/npdes-permit-writers-
     17

     manual-concentrated-animal-feeding-operations, Ch. 4 (Last Accessed October 16, 2020).
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 1          95.   Technology-based effluent limitations for CAFOs must address all of the
 2   discharges from a CAFO. 40 C.F.R. § 122.42(e) (Dec. 21, 2015).
 3          96.   CAFO permits must include limits for process wastewater discharges from
 4   the CAFO’s production area and land application area.
 5          97.   Process wastewater is defined as water directly or indirectly used in
 6   operation of the AFO for activities including: washing, cleaning, or flushing AFO
 7   facilities; washing or spray cooling animals; dust control; or any water that comes into
 8   contact with any raw material, products, or byproducts including manure, litter, feed,
 9   milk, or bedding. 40 C.F.R. §§ 122.23(b)(7) (Jul. 30, 2012), 412.2(d) (Feb. 12, 2003).
10          98.   The discharge of manure, litter or process wastewater to waters of the
11   United States from a CAFO is subject to NPDES permit requirements. 40 C.F.R. §§
12   122.23(e), 122.23(b)(3) (Jul. 30, 2012).
13          99.   A CAFO can only discharge manure, litter or process wastewater from land
14   areas under its control due to precipitation events if those materials are applied in
15   accordance with a site-specific, documented nutrient management plan. 40 C.F.R. §§
16   122.23(e)(1), (2) (Jul. 30, 2012).
17          100. Similarly, CAFO permits require implementation of a site-specific nutrient
18   management plan that, at a minimum, contains best management practices necessary to
19   meet enumerated requirements and applicable effluent limitations and standards. 40
20   C.F.R. § 122.42(e)(1) (Dec. 21, 2015). Those enumerated requirements include: (1)
21   manure and process wastewater storage; (2) management of mortalities; (3) diversion of
22   clean water from the production area; (4) prevention of direct contact of confined
23   animals to waters of the United States; (5) chemical and contaminant management of
24   manure, litter, process wastewater, storm water storage or treatment; (6) conservation
25   practices; (7) protocols for testing manure, litter, process wastewater, and soil; (8)
26   protocols for applying manure, litter, or process wastewater in accordance with the site-
27   specific nutrient management plan; and (9) record keeping. Id. The nutrient management
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 1   plan’s terms are enforceable effluent limitations that must be included in the permit. 18
 2   VI.        CLAIMS FOR RELIEF
 3                                      FIRST CAUSE OF ACTION
 4                                    AGAINST ALL DEFENDANTS
 5                 Unpermitted Discharges From A Medium Concentrated Animal
 6                           Feeding Operation Without An NPDES Permit.
 7                         33 U.S.C. §§ 1311(a), 1342(p), 1365(a) and 1365(f)
 8            101. Coastkeeper incorporates the allegations contained in the above paragraphs
 9   as though fully set forth herein.
10            102. RSV is an owner of RSV Stables.
11            103. RSV is an operator of the Facility.
12            104. Rancho HHO Land Corporation owns the land upon which the Facility is
13   located.
14            105. Rancho HHO Land Corporation is an owner and/or operator of RSV
15   Stables.
16            106. Collectively, RSV and Rancho HHO Land Corporation are the owners
17   and/or operators of the Facility.
18            107. Coastkeeper is informed, believes, and thereon alleges that horses are fed
19   and/or maintained at the Facility.
20            108. Coastkeeper is informed, believes, and thereon alleges that horses are fed
21   and/or maintained at the Facility for more than 45 days in a 12-month period.
22            109. Coastkeeper is informed, believes, and thereon alleges that horses are fed
23   and/or maintained at the Facility approximately every day.
24            110. Coastkeeper is informed, believes, and thereon alleges that there are no
25   crops, vegetation, forage, or post-harvest residues sustained over any portion of the
26   Facility, and horses are not permitted to openly graze at the Facility.
27            111. Horses are generally confined to their stables unless they are being
28   18
          Waterkeeper Alliance v. EPA, 399 F.3d 486, 502 (2d Cir. 2005).
                                                       16
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 1   exercised, washed, or ridden by their owners.
 2         112. RSV Stables is an Animal Feeding Operation that confines equines.
 3         113. Coastkeeper is informed, believes, and thereon alleges that for the past five
 4   years, the Facility has confined approximately 370 horses year-round.
 5         114. Coastkeeper is informed, believes, and thereon alleges that for the past five
 6   years, the Facility has confined over 150 horses on a daily basis.
 7         115. Coastkeeper is informed, believes, and thereon alleges that at all relevant
 8   times, storm water that falls on the Facility is discharged through manmade ditches,
 9   storm drains, or other manmade devices directly, or the functional equivalent of directly,
10   into Trabuco Creek.
11         116. Coastkeeper is informed, believes, and thereon alleges that at all relevant
12   times, storm water flows over and across stabling areas, horse walkways, coming into
13   contact with manure, bedding, and other pollutants, and flows into Trabuco Creek.
14         117. Coastkeeper is informed, believes, and thereon alleges that RSV Stables is a
15   Medium Concentrated Animal Feeding Operation.
16         118. Coastkeeper is informed, believes, and thereon alleges that pollutants from
17   the Facility have been and are continually discharged to Trabuco Creek, a water of the
18   United States. Pollutants include, but are not limited to, non-storm water, such as horse
19   manure, bedding, sediment, equine footing, trash, and other pollutants associated with
20   equine operations, as well as polluted storm water.
21         119. Coastkeeper is informed, believes, and thereon alleges that the Facility
22   discharges process wastewater from horse wash racks into Trabuco Creek.
23         120. Coastkeeper is informed, believes, and thereon alleges that process
24   wastewater from horse wash racks continues to be discharged into Trabuco Creek
25   whenever the wash racks are in use.
26         121. Coastkeeper is informed, believes, and thereon alleges that Defendants
27   apply process wastewater to the Facility riding rings, and other land, without having a
28   site-specific nutrient management plan.
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 1         122. Coastkeeper is informed, believes, and thereon alleges that the Facility
 2   operates without sufficient manure and process wastewater storage.
 3         123. Coastkeeper is informed, believes, and thereon alleges that the Facility
 4   operates without proper diversion of clean water from the production area.
 5         124. Plaintiff is informed, believes, and thereon alleges the Facility operates
 6   without chemical and contaminant management of manure, litter, process wastewater,
 7   and treatment.
 8         125. Plaintiff is informed, believes, and thereon alleges the Facility operates
 9   without protocols for testing manure, litter, process wastewater, and soil.
10         126. Plaintiff is informed, believes, and thereon alleges the Facility operates
11   without protocols for applying manure, litter, or process wastewater in accordance with a
12   site-specific nutrient management plan.
13         127. Plaintiff is informed, believes, and thereon alleges the Facility operates
14   without proper record keeping required by a site-specific nutrient management plan.
15         128. Coastkeeper alleges that Defendants do not have NPDES permit coverage
16   for the operation of the Facility as a Medium CAFO.
17         129. Every day the Facility operates without an NPDES permit for operation of a
18   CAFO is a separate and distinct violation of Section 301 of the Clean Water Act, 33
19   U.S.C. § 1311.
20         130. Defendants have been in continuous violation of Section 301 of the Clean
21   Water Act, 33 U.S.C. § 1311, since at least February 10, 2015.
22         131. By committing the acts and omissions alleged above, Defendants are
23   subject to an assessment of civil penalties for each and every violation of the Clean
24   Water Act pursuant to Sections 309(d) and 505 of the Clean Water Act, 33 U.S.C. §§
25   1319(d), 1365, and 40 C.F.R. § 19.4.
26         132. An action for injunctive relief under the Clean Water Act is authorized by
27   Section 505(a) of the Act. 33 U.S.C. § 1365(a). The continued commission of the acts
28   and omissions alleged above irreparably harms Coastkeeper and the citizens of the State
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 1   of California, for which harm there is no plain, speedy, or adequate remedy at law.
 2            133. An action for declaratory relief is authorized by 28 U.S.C. § 2201(a)
 3   because an actual controversy exists as to the rights and other legal relations of the
 4   Parties.
 5            WHEREFORE, Coastkeeper prays for judgment against the Defendants as set
 6   forth hereafter.
 7
 8   VII. RELIEF REQUESTED
 9            218. Wherefore, Plaintiff Coastkeeper respectfully requests that this Court grant
10   the following relief:
11                  a.     A court order declaring Defendants to have violated, and to be in
12         violation of, Section 301 of the Clean Water Act, 33 U.S.C. § 1311, for their failure
13         to obtain permit coverage as a Medium CAFO.
14                  b.     A court order requiring Defendants to obtain and comply with an
15         NPDES Permit for discharges from a Medium CAFO.
16                  c.     A court order assessing civil monetary penalties for each violation of
17         the Act at $37,500 per day per violation for violations occurring from March 31,
18         2012 through November 2, 2015, and $55,800 per day per violation for violations
19         that occurred after November 2, 2015 and assessed on or after January 13, 2020, as
20         authorized by 33 U.S.C. § 1319(d) and Adjustment of Civil Monetary Penalties for
21         Inflation, 40 C.F.R. § 19.4 (Jan.15, 2017);
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 1              d.     A court order awarding Plaintiff Coastkeeper its reasonable costs of
 2     suit, including attorney, witness, expert, and consultant fees, as authorized by Section
 3     505(d) of the Clean Water Act, 33 U.S.C. § 1365(d); and
 4              e.     Any other relief as this Court may deem appropriate.
 5
 6   Dated:     October 16, 2020                 Respectfully submitted,
 7
 8                                               ORANGE COUNTY COASTKEEPER
 9
                                                    /s/ Sarah J. Spinuzzi
10                                               Sarah Spinuzzi
11                                               Attorney for Plaintiff
                                                 Orange County Coastkeeper
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